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 4
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 6
 7                              UNITED STATES DISTRICT COURT
 8                             CENTRAL DISTRICT OF CALIFORNIA
 9
     ANGEL GARCIA,                                    Case No.:
10
                  Plaintiff,                          COMPLAINT FOR INJUNCTIVE
11                                                    RELIEF AND DAMAGES FOR DENIAL
           vs.                                        OF CIVIL RIGHTS OF A DISABLED
12                                                    PERSON IN VIOLATIONS OF
13                                                    1. AMERICANS WITH DISABILITIES
                                                      ACT, 42 U.S.C. §12131 et seq.;
14   JUST PRINTING LLC; MARTHA
     LUJANO ARRIAGA; and DOES 1 to 10,                2. CALIFORNIA’S UNRUH CIVIL
15                                                    RIGHTS ACT;
                  Defendants.
16                                                    3. CALIFORNIA’S DISABLED
                                                      PERSONS ACT;
17
                                                      4. CALIFORNIA HEALTH & SAFETY
18                                                    CODE;
19                                                    5. NEGLIGENCE
20
21
22         Plaintiff ANGEL GARCIA (“Plaintiff”) complains of Defendants JUST
23   PRINTING LLC; MARTHA LUJANO ARRIAGA; and DOES 1 to 10 (“Defendants”)
24   and alleges as follows:
25                                            PARTIES
26         1.     Plaintiff is a California resident with a physical disability. Plaintiff suffers
27   from paraplegia and is substantially limited in his ability to walk. Plaintiff requires the
28   use of a wheelchair at all times when traveling in public.


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 1            2.   Defendants are, or were at the time of the incident, the real property owners,
 2   business operators, lessors and/or lessees of the real property for a print shop
 3   (“Business”) located at or about 4859 E. Gage Ave., Suite 1., Bell, California.
 4            3.   The true names and capacities, whether individual, corporate, associate or
 5   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
 6   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
 7   Court to amend this Complaint when the true names and capacities have been
 8   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
 9   fictitiously named Defendants are responsible in some manner, and therefore, liable to
10   Plaintiff for the acts herein alleged.
11            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
12   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
13   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
14   the things alleged herein was acting with the knowledge and consent of the other
15   Defendants and within the course and scope of such agency or employment relationship.
16            5.   Whenever and wherever reference is made in this Complaint to any act or
17   failure to act by a defendant or Defendants, such allegations and references shall also be
18   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
19   and severally.
20                                 JURISDICTION AND VENUE
21            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
22   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
23   seq.).
24            7.   Pursuant to pendant jurisdiction, attendant and related causes of action,
25   arising from the same nucleus of operating facts, are also brought under California law,
26   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
27   54, 54., 54.3 and 55.
28            8.   Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.



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 1         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 2   property which is the subject of this action is located in this district, Los Angeles County,
 3   California, and that all actions complained of herein take place in this district.
 4                                     FACTUAL ALLEGATIONS
 5         10.    In or about November of 2024, Plaintiff went to the Business.
 6         11.    The Business is a print shop business establishment, open to the public, and
 7   is a place of public accommodation that affects commerce through its operation.
 8         12.    While attempting to enter the Business during each visit, Plaintiff personally
 9   encountered a number of barriers that interfered with his ability to use and enjoy the
10   goods, services, privileges, and accommodations offered at the Business.
11         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
12   included, but were not limited to, the following:
13                a.     Defendants failed to maintain accessibility for persons with
14                       disabilities to comply with the federal and state standards. Defendants
15                       failed to provide at least one accessible entrance as required as there
16                       were stairs instead of a compliant ramp.
17         14.    These barriers and conditions denied Plaintiff the full and equal access to the
18   Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
19   patronize the Business; however, Plaintiff is deterred from visiting the Business because
20   his knowledge of these violations prevents him from returning until the barriers are
21   removed.
22         15.    Based on the violations, Plaintiff alleges, on information and belief, that
23   there are additional barriers to accessibility at the Business after further site inspection.
24   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
25   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
26         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
27   knew that particular barriers render the Business inaccessible, violate state and federal
28   law, and interfere with access for the physically disabled.



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 1         17.    At all relevant times, Defendants had and still have control and dominion
 2   over the conditions at this location and had and still have the financial resources to
 3   remove these barriers without much difficulty or expenses to make the Business
 4   accessible to the physically disabled in compliance with ADDAG and Title 24
 5   regulations. Defendants have not removed such barriers and have not modified the
 6   Business to conform to accessibility regulations.
 7                                     FIRST CAUSE OF ACTION
 8          VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 9         18.    Plaintiff incorporates by reference each of the allegations in all prior
10   paragraphs in this complaint.
11         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
12   shall be discriminated against on the basis of disability in the full and equal enjoyment of
13   the goods, services, facilities, privileges, advantages, or accommodations of any place of
14   public accommodation by any person who owns, leases, or leases to, or operates a place
15   of public accommodation. See 42 U.S.C. § 12182(a).
16         20.    Discrimination, inter alia, includes:
17                a.     A failure to make reasonable modification in policies, practices, or
18                       procedures, when such modifications are necessary to afford such
19                       goods, services, facilities, privileges, advantages, or accommodations
20                       to individuals with disabilities, unless the entity can demonstrate that
21                       making such modifications would fundamentally alter the nature of
22                       such goods, services, facilities, privileges, advantages, or
23                       accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
24                b.     A failure to take such steps as may be necessary to ensure that no
25                       individual with a disability is excluded, denied services, segregated or
26                       otherwise treated differently than other individuals because of the
27                       absence of auxiliary aids and services, unless the entity can
28                       demonstrate that taking such steps would fundamentally alter the



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 1                       nature of the good, service, facility, privilege, advantage, or
 2                       accommodation being offered or would result in an undue burden. 42
 3                       U.S.C. § 12182(b)(2)(A)(iii).
 4                c.     A failure to remove architectural barriers, and communication barriers
 5                       that are structural in nature, in existing facilities, and transportation
 6                       barriers in existing vehicles and rail passenger cars used by an
 7                       establishment for transporting individuals (not including barriers that
 8                       can only be removed through the retrofitting of vehicles or rail
 9                       passenger cars by the installation of a hydraulic or other lift), where
10                       such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
11                d.     A failure to make alterations in such a manner that, to the maximum
12                       extent feasible, the altered portions of the facility are readily
13                       accessible to and usable by individuals with disabilities, including
14                       individuals who use wheelchairs or to ensure that, to the maximum
15                       extent feasible, the path of travel to the altered area and the
16                       bathrooms, telephones, and drinking fountains serving the altered
17                       area, are readily accessible to and usable by individuals with
18                       disabilities where such alterations to the path or travel or the
19                       bathrooms, telephones, and drinking fountains serving the altered area
20                       are not disproportionate to the overall alterations in terms of cost and
21                       scope. 42 U.S.C. § 12183(a)(2).
22         21.    At least one accessible route shall connect accessible building, facilities,
23   elements, and spaces that are on the same site. 1991 ADA Standards § 4.3.2. A public
24   accommodation shall maintain in operable working condition those features of facilities
25   and equipment that are required to be readily accessible to and usable by persons with
26   disabilities by the Act or this part. 28 C.F.R. 35.211(a).
27         22.    Here, Defendants failed to provide at least one accessible entrance to the
28   Business as the entrance had stairs instead of a proper ramp.



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 1         23.      A public accommodation shall maintain in operable working condition those
 2   features of facilities and equipment that are required to be readily accessible to and usable
 3   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
 4         24.      By failing to maintain the facility to be readily accessible and usable by
 5   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
 6   regulations.
 7         25.      The Business has denied and continues to deny full and equal access to
 8   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
 9   discriminated against due to the lack of accessible facilities, and therefore, seeks
10   injunctive relief to alter facilities to make such facilities readily accessible to and usable
11   by individuals with disabilities.
12                                 SECOND CAUSE OF ACTION
13                     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
14         26.      Plaintiff incorporates by reference each of the allegations in all prior
15   paragraphs in this complaint.
16         27.      California Civil Code § 51 states, “All persons within the jurisdiction of this
17   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
18   national origin, disability, medical condition, genetic information, marital status, sexual
19   orientation, citizenship, primary language, or immigration status are entitled to the full
20   and equal accommodations, advantages, facilities, privileges, or services in all business
21   establishments of every kind whatsoever.”
22         28.      California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
23   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
24   for each and every offense for the actual damages, and any amount that may be
25   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
26   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
27   attorney’s fees that may be determined by the court in addition thereto, suffered by any
28   person denied the rights provided in Section 51, 51.5, or 51.6.



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 1         29.    California Civil Code § 51(f) specifies, “a violation of the right of any
 2   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 3   shall also constitute a violation of this section.”
 4         30.    The actions and omissions of Defendants alleged herein constitute a denial
 5   of full and equal accommodation, advantages, facilities, privileges, or services by
 6   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
 7   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
 8   51 and 52.
 9         31.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
10   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
11   damages as specified in California Civil Code §55.56(a)-(c).
12                                  THIRD CAUSE OF ACTION
13                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
14         32.    Plaintiff incorporates by reference each of the allegations in all prior
15   paragraphs in this complaint.
16         33.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
17   entitled to full and equal access, as other members of the general public, to
18   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
19   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
20   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
21   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
22   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
23   places of public accommodations, amusement, or resort, and other places in which the
24   general public is invited, subject only to the conditions and limitations established by
25   law, or state or federal regulation, and applicable alike to all persons.
26         34.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
27   corporation who denies or interferes with admittance to or enjoyment of public facilities
28   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an



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 1   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 2   the actual damages, and any amount as may be determined by a jury, or a court sitting
 3   without a jury, up to a maximum of three times the amount of actual damages but in no
 4   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
 5   determined by the court in addition thereto, suffered by any person denied the rights
 6   provided in Section 54, 54.1, and 54.2.
 7         35.    California Civil Code § 54(d) specifies, “a violation of the right of an
 8   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
 9   constitute a violation of this section, and nothing in this section shall be construed to limit
10   the access of any person in violation of that act.
11         36.    The actions and omissions of Defendants alleged herein constitute a denial
12   of full and equal accommodation, advantages, and facilities by physically disabled
13   persons within the meaning of California Civil Code § 54. Defendants have
14   discriminated against Plaintiff in violation of California Civil Code § 54.
15         37.    The violations of the California Disabled Persons Act caused Plaintiff to
16   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
17   statutory damages as specified in California Civil Code §55.56(a)-(c).
18                                FOURTH CAUSE OF ACTION
19                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
20         38.    Plaintiff incorporates by reference each of the allegations in all prior
21   paragraphs in this complaint.
22         39.    Plaintiff and other similar physically disabled persons who require the use of
23   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
24   such facility is in compliance with the provisions of California Health & Safety Code §
25   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
26   provisions of California Health & Safety Code § 19955 et seq.
27         40.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
28   that public accommodations or facilities constructed in this state with private funds



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 1   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
 2   Title 1 of the Government Code. The code relating to such public accommodations also
 3   require that “when sanitary facilities are made available for the public, clients, or
 4   employees in these stations, centers, or buildings, they shall be made available for
 5   persons with disabilities.
 6          41.    Title II of the ADA holds as a “general rule” that no individual shall be
 7   discriminated against on the basis of disability in the full and equal enjoyment of goods
 8   (or use), services, facilities, privileges, and accommodations offered by any person who
 9   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
10   Further, each and every violation of the ADA also constitutes a separate and distinct
11   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
12   award of damages and injunctive relief pursuant to California law, including but not
13   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
14                                   FIFTH CAUSE OF ACTION
15                                         NEGLIGENCE
16          42.    Plaintiff incorporates by reference each of the allegations in all prior
17   paragraphs in this complaint.
18          43.    Defendants have a general duty and a duty under the ADA, Unruh Civil
19   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
20   to the Plaintiff.
21          44.    Defendants breached their duty of care by violating the provisions of ADA,
22   Unruh Civil Rights Act and California Disabled Persons Act.
23          45.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
24   has suffered damages.
25                                     PRAYER FOR RELIEF
26          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
27   Defendants as follows:
28




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 1          1.     For preliminary and permanent injunction directing Defendants to comply
 2    with the Americans with Disability Act and the Unruh Civil Rights Act;
 3          2.     Award of all appropriate damages, including but not limited to statutory
 4    damages, general damages and treble damages in amounts, according to proof;
 5          3.     Award of all reasonable restitution for Defendants’ unfair competition
 6    practices;
 7          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
 8    action;
 9          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
10          6.     Such other and further relief as the Court deems just and proper.
11                               DEMAND FOR TRIAL BY JURY
12          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
13    demands a trial by jury on all issues so triable.
14
15    Dated: February 25, 2025                       SO. CAL. EQUAL ACCESS GROUP
16
17
18                                            By:    _/s/ Jason J. Kim___________
                                                     Jason J. Kim, Esq.
19                                                   Attorneys for Plaintiff
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